
2 N.Y.3d 791 (2004)
BRIAN LUSTENRING et al., Appellants,
v.
98-100 REALTY, LLC, et al., Defendants and Third-Party Plaintiffs-Respondents, et al., Defendants.
RECTOR STREET PARKING, INC., et al., Third-Party Defendants-Respondents. (And Another Title.)
Court of Appeals of the State of New York.
Submitted March 22, 2004.
Decided May 13, 2004.
Motion, insofar as it seeks leave to appeal as against third-party defendants Rector Street Parking, Inc. and the City of New York, dismissed upon the ground that, as to these third-party defendants, appellants are not parties aggrieved (CPLR 5511); motion, insofar as it seeks leave to appeal as against defendant fourth third-party plaintiff 98-100 Realty, LLC, dismissed upon the ground that as to this party the order sought to be appealed from does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
